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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                            Plaintiff,

                            v.
                                                    Civil Case No. 22-2791-ACR
ASSA ABLOY AB, et al.,

                            Defendants.



                                 [PROPOSED] ORDER



      AND NOW, this _____ day of April 2023, upon consideration of the attached

Stipulation, it is hereby ORDERED that the Stipulation is APPROVED.


      IT IS SO ORDERED



                                                       BY THE COURT:




                                                       Honorable Judge Ana C. Reyes
                                                       United States District Judge




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                              Plaintiff,

                              v.
                                                         Civil Case No. 22-2791-ACR
ASSA ABLOY AB, et al.,

                              Defendants.


                                           STIPULATION

        WHEREAS, Defendant ASSA ABLOY AB has agreed to acquire certain assets from

 Defendant Spectrum Brands Holdings, Inc., and ASSA ABLOY has agreed to divest certain

 assets to Fortune Brands Innovations, Inc.; and

        WHEREAS, in the interest of streamlining trial, the parties have agreed that the Court

 may treat certain products as being in or out of the relevant markets at issue without resolving

 factual disputes relating to these products. This agreement is intended to supplement the

 stipulation entered by the Court on February 27, 2023 (Dkt. 92).

        THEREFORE, THE PARTIES STIPULATE AS FOLLOWS:

        1.   For the purposes of this case only, Defendants do not contest that residential

 products sold by Valli & Valli in the United States may be treated as falling within the

 relevant product market for residential premium mechanical door hardware. Plaintiff agrees

 that the inclusion of Valli & Valli products in the relevant product market is not a basis to

 require a divestiture of the Valli & Valli business.

        2.   For the purposes of this case only, Plaintiff does not contest that upgrade kits and

 RF modules may be treated as falling outside the relevant product market for residential smart


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    locks. Defendants agree that the exclusion of upgrade kits and RF modules in the relevant

    product market is not a basis to require exclusion of upgrade kits and RF modules from any

    divestiture.

 IT IS SO STIPULATED

 Dated: April 23, 2023

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 24, 2023, I caused the foregoing to be filed with the Clerk

of Court using the Court’s Electronic Document Filing System, which served copies on all

counsel of record.

                                                    /s/ David I. Gelfand
                                                    David I. Gelfand

                                                    Counsel for Defendant ASSA ABLOY AB




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